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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

In Re: Beyond Meat, Inc., Protein )                         Case No. 1:23-cv-00669
Content Marketing and Sales Practices )
Litigation                            )                          MDL No. 3059
                                      )
                                      )                        Judge Sara L. Ellis
                                      )


                           PRELIMINARY APPROVAL ORDER

       Having fully considered Plaintiffs’ Motion for Preliminary Approval of Class Action

Settlement (“Motion”), the Parties’ arguments and submissions concerning the Motion, and the

applicable facts and law, the Court hereby finds and orders as follows:

       1.      Except as otherwise provided below, all capitalized terms used in this Preliminary

Approval Order shall have the meanings and/or definitions given them in the Settlement

Agreement and Release, attached to the Motion as Exhibit B.

       2.      The Court preliminarily approves the Agreement subject to the Fairness Hearing,

the purpose of which will be to decide whether to grant final approval to the Settlement reached

by the Parties. The Court finds that the Agreement, the Settlement set forth therein and all

exhibits attached thereto and/or to the Motion are fair, reasonable and adequate, entered into in

good faith, free of collusion to the detriment of the Settlement Class and within the range of

possible judicial approval to warrant sending notice of In Re: Beyond Meat, Inc. Protein Content

Marketing and Sales Practices Litigation, Case No. 1:23-cv-00669, MDL No. 3059 (N.D. Ill.)

and the proposed Settlement to the Settlement Class and to hold a full hearing on the proposed

Settlement.
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          3.   For settlement purposes only, conditioned upon final certification of the proposed

class and upon Final Judgment, the Court finds that the Action may be maintained on behalf of

the following class:

               All persons (individuals and/or entities) who purchased any
               Beyond Meat Product for household use and not for resale or
               distribution, from May 31, 2018 to the date of the Preliminary
               Approval Order.

               Excluded from the Settlement Class are: (i) Beyond Meat, Inc. and
               its officers, directors, and employees; and Beyond Meat, Inc.’s
               corporate affiliates and corporate affiliates’ officers, directors, and
               employees; (ii) Class Counsel and Plaintiffs’ Additional Counsel;
               (iii) the judges who have presided over the Action; and (iv) all
               other persons who timely elect to become opt-outs from the
               Settlement Class in accordance with the Court’s Orders.

          4.   The Court recognizes that Beyond Meat reserves all their defenses and objections

against and rights to oppose any request for class certification in the event that the proposed

Settlement does not become final for any reason. Beyond Meat also reserves all their defenses to

the merits of the claims asserted in the event the Settlement does not become final for any

reason.

          5.   For settlement purposes only, the Court preliminarily appoints Plaintiffs

Angelique Roberts, Hannah Offutt, Dylan Rushing, Orlandra Hawthorne, Nisha Albert, Adam

Sorkin, Dartisha Anderson, Rosemarie Ramirez, Mary Yoon, Christopher Bates, Christine

Borovoy, Richard D. Garcia, Erica Nichols Cook, Jennifer Speer, Todd Miller, and Stan Zakinov

as representatives of the Settlement Class.

          6.   For settlement purposes only, the Court preliminarily appoints Nick Suciu of

Milberg Coleman Bryson Phillips Grossman PLLC to act as Class Counsel.

          7.   The Court appoints Kroll as the Settlement Administrator, who will be an agent of

the Court and subject to the Court’s supervision and direction as circumstances may require.


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       8.     Notice to the Settlement Class shall begin no later than sixty (60) days after entry

of this order. Notice shall be in a form substantially the same as the notice attached to the

Settlement Agreement as Exhibits 2 and 3 and shall be effectuated as follows:

              a. On or before the Notice Date, the Settlement Administrator shall establish a

                  Settlement Website that will inform Settlement Class Members of the terms of

                  this Agreement, their rights, dates and deadlines and related information.

              b. The Settlement Website shall include, in .pdf format, materials agreed upon

                  by the Parties and/or required by the Court, including a long form notice,

                  which shall be in substantially the same form as Exhibit 2 to the Agreement,

                  with the addition of the following bullet point in Section 23, “Do not contact

                  or call the Court or the Judge regarding the Settlement.”

              c. The Settlement Administrator shall establish a toll-free telephone number that

                  will provide Settlement-related information to Settlement Class Members.

              d. The Class Action Settlement Administrator will cause Publication Notice to

                  be published in accordance with a schedule and plan submitted by the

                  Settlement Administrator to the Court, which shall be in substantially the

                  same form as Exhibit 3 to the Agreement, with the addition of the following

                  language in the last paragraph, “Do not contact or call the Court or the Judge

                  regarding the Settlement.”

       9.     The form and content of the notice are fair and reasonable, and notice shall be

disseminated to the Settlement Class as due process and Rule 23 of the Federal Rules of Civil

Procedure require and in accordance with the Agreement.




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       10.     The Court finds that the notice and notice plan meet the requirements of Rule 23

of the Federal Rules of Civil Procedure and due process, constitute the best notice practicable

under the circumstances, and constitute due and sufficient notice to all potential Settlement Class

Members.     The notice is reasonably calculated, under the circumstances, to apprise the

Settlement Class: (a) of the pendency of the Action and the essential terms of the Settlement; (b)

of the benefits the Settlement provides to the Settlement Class as well as how to claim those

benefits; (c) of any requested amounts for Attorneys’ Fees and Expenses and Service Awards;

(d) of their right to exclude themselves from the Settlement Class and the proposed Settlement;

(e) that any judgment, whether favorable or not, will bind all Settlement Class Members who do

not request exclusion; (f) that any Settlement Class Member who does not request exclusion may

object to the Settlement, the request for attorneys’ fees and costs and/or the service award and, if

he or she desires, enter an appearance personally or through counsel; and (g) prominently display

the address of Class Counsel and the Settlement Administrator as well as the procedure for

making inquiries. The Court further finds that the notices are written in plain English and are

readily understandable by Settlement Class Members.

       11.     No later than twenty-eight (28) days before the Fairness Hearing, the Settlement

Administrator shall file a declaration with the Court attesting to attesting to the Class Notice and

all measures undertaken to provide notice of the Settlement Class.

       12.     The Court approves the Claim Form in substantially the same form as the Claim

Form attached to the Agreement as Exhibit 1. Any Settlement Class Member who wishes to

receive benefits under the Agreement must sign and return a complete and timely Claim Form in

compliance with the process set forth in the Agreement. Such Claim Forms must be postmarked

and submitted to the Settlement Administrator one hundred and eighty days from the Notice



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Date. Any Settlement Class Member who does not submit a complete and timely Claim Form in

compliance with the Agreement shall not be entitled to any benefits under the Settlement, but

nonetheless shall be barred by the release provisions of the Agreement and the Final Judgment

and shall be deemed to have released the Released Parties from the Released Claims.

       13.     Any Settlement Class Member who wishes to be excluded from the Settlement

Class must mail a written request for exclusion to the Settlement Administrator at the address

provided in the Class Notice, and the Settlement Website, postmarked no later than forty-five

(45) days after the Notice Date. The opt-out request must (a) identify the Settlement Class

Member by name, address, and phone number and (b) state that he or she wishes to be excluded

from the Settlement Class. A Settlement Class Member may opt-out on an individual basis only.

So-called “mass” or “class” opt-outs, whether filed by third parties on behalf of a “mass” or

“class” of class members or multiple class members where no personal statement has been

signed by each and every individual class member, shall not be allowed.

       14.     A timely and valid request to opt out of the Settlement Class shall preclude the

person opting out from participating in the proposed Settlement and he or she will be unaffected

by the Agreement. The Settlement Administrator shall compile a list of all members of the

Settlement Class who properly and timely submit an opt-out request.

       15.     Any Settlement Class Member who does not submit a timely and valid written

request for exclusion shall be bound by all subsequent proceedings, orders and judgments in this

Action, regardless of whether he or she currently is, or subsequently becomes, a plaintiff in any

other lawsuit, arbitration or other proceeding against any of the Released Parties asserting any of

the Released Claims.




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        16.    The Settlement Administrator shall provide the Opt-Out List to Class Counsel and

Beyond Meat’s Counsel within a reasonable amount of time after the Opt-Out and Objection

Deadline and shall file the Opt-Out List along with a declaration attesting to the completeness

and accuracy thereof with the Court no later than twenty-eight (28) days before the Fairness

Hearing.

        17.    Any Settlement Class Member who does not properly and timely submit an opt-

out request and who wishes to object to the fairness, reasonableness or adequacy of the

Agreement or the proposed Settlement or who wishes to object to the award of Attorneys’ Fees

and Expenses or Plaintiffs’ Service Awards must file with the Court and serve on Class Counsel

and Beyond Meat’s Counsel, delivered no later than the Opt-Out and Objection Deadline, a

written statement of the objection signed by the Settlement Class Member containing all of the

following information:

               a.       the full name and current address and telephone number of the Settlement

Class Member;

               b.       proof that the Settlement Class Member purchased Beyond Meat

Product(s) during the Class Period;

               c.       a statement of the amount of Beyond Meat Products purchased (in units or

dollars);

               d.       all of the Settlement Class Member’s objections, the reasons therefor, and

all supporting papers, including, without limitation, all briefs, written evidence, and declarations;

               e.       a statement of whether the Settlement Class Member intends to appear at

the Fairness Hearing;




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                  f.     the Settlement Class Member’s signature and the signature of any attorney

representing the Settlement Class Member; and

                  g.     a detailed list of any other objections submitted by the objector, or the

objector’s counsel, to any class action settlements submitted in any court, whether state, federal,

or otherwise, in the United States in the previous five years. If the Settlement Class Member or

his or her counsel has not made any such prior objection, the Settlement Class Member shall

affirmatively so state in the written materials provided with the objection.

        18.       Neither an objection signed by counsel alone nor any “mass” or “class” objections

shall be valid.

        19.       Any objections must be appropriately filed with the Court no later than no later

than forty-five (45) days after the Notice Date. A copy of the objection, postmarked no later

than the Opt-Out and Objection Deadline, must also be mailed to the Settlement Administrator at

the post office box described further below.

        20.       No person shall be heard and no paper or brief submitted by any objector shall be

received or considered by the Court unless such person has filed with the Clerk of Court and

timely mailed to the Settlement Administrator, as provided above, the concise written statement

of objections as described above, together with copies of any supporting materials, papers or

briefs. Any Settlement Class Member who does not file a written objection in the time and

manner described above shall be: (a) deemed to have waived and forfeited any objections to the

proposed Settlement; (b) foreclosed from raising any objection to the proposed Settlement at the

Fairness Hearing; (c) bound by all of the terms of the Agreement and by all proceedings, orders

and judgments by the Court; and (d) foreclosed from seeking any adjudication or review of the

Settlement by appeal or otherwise.



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       21.     Any objecting Settlement Class Member who intends to appear at the Fairness

Hearing, either with or without counsel, must also file a notice of intention to appear with the

Court postmarked no later than the Objection Deadline, which notice shall be filed with, or

mailed to, the Clerk of the Court, with copy to the Settlement Administrator, as set forth above.

               (a)     If the objecting Settlement Class Member intends to appear at the Fairness

Hearing through counsel, he or she must also identify any attorney representing the objector who

will appear at the Fairness Hearing and include the attorney(s) name, address, phone number, e-

mail address and state bar(s) to which counsel is admitted. Any attorney hired by a Settlement

Class Member for the purpose of objecting to the Agreement or to the proposed Settlement or to

the attorneys’ fees and expenses will be at the Class Member’s own expense; and

               (b)     If the objecting Settlement Class Member intends to request the Court

allow the Settlement Class Member to call witnesses at the Fairness Hearing, the objecting

Settlement Class Member must provide a list of any such witnesses together with a brief

summary of each witness’s expected testimony no later than the Objection Deadline. If a witness

is not identified in the notice of appearance, such witness shall not be permitted to object or

appear at the Fairness Hearing.

       22.     The Settlement Administrator will establish a post office box to be used for

receiving requests for exclusion or objections, Claim Forms and any other communications

relating to this Settlement.

       23.     The Court preliminarily enjoins all Settlement Class Members unless and until

they have timely and properly excluded themselves from the Settlement Class from (a) filing,

commencing, prosecuting, intervening in or participating as plaintiff, claimant or class member

in any other lawsuit or administrative, regulatory, arbitration or other proceeding in any



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jurisdiction based on, relating to or arising out of the claims and causes of action or the facts and

circumstances giving rise to the Litigation and/or the Released Claims; (b) filing, commencing,

participating in or prosecuting a lawsuit or administrative, regulatory, arbitration or other

proceeding as a class action on behalf of any Settlement Class Member who has not timely

excluded himself or herself (including by seeking to amend a pending complaint to include class

allegations or seeking class certification in a pending action), based on, relating to or arising out

of the claims and causes of action or the facts and circumstances giving rise to the Litigation

and/or the Released Claims; and (c) attempting to effect Opt-Outs of a class of individuals in any

lawsuit or administrative, regulatory, arbitration or other proceeding based on, relating to or

arising out of the claims and causes of action or the facts and circumstances giving rise to the

Litigation and/or the Released Claims. Any person who knowingly violates such injunction shall

pay the attorneys’ fees and costs incurred by Beyond Meat, any other Released Person and Class

Counsel as a result of the violation. This Order is not intended to prevent members of the Class

from participating in any action or investigation initiated by a state or federal agency.

       24.     A Fairness Hearing to determine (a) whether the Settlement Class should be

finally certified pursuant to Rule 23 of the Federal Rules of Civil Procedure and (b) whether the

proposed Settlement is fair, reasonable and adequate shall be conducted in the United States

Courthouse, United States District Court for the Northern District of Illinois, Eastern Division,

Everett McKinley Dirksen United States Courthouse, 219 South Dearborn Street, Chicago,

Illinois, 60604, Courtroom 1403, commencing on Thursday, January 23, 2025 at 2 p.m.

       25.     The Court may reschedule the Fairness Hearing without further written notice. If

the Fairness Hearing is rescheduled from the currently scheduled date, information regarding a

rescheduled Fairness Hearing will be posted on the Court’s docket and the Settlement Website.



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       26.     Papers in support of the final approval of the Settlement, including responses to

objections, shall be filed with the Court no later than one hundred thirty (130) days following the

entry of this Order.

       27.      An application of Class Counsel for an award of fees and expenses shall be filed

with the Court no later than sixty (60) days following the entry of this Order.

       28.     All discovery and other pre-trial proceedings in this Action are stayed and

suspended pending the Fairness Hearing, except such actions as may be necessary to implement

the Agreement and this Order.

       29.     The Settlement Administrator shall file proof of compliance with the notice

requirements of The Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. §1715(b), no later

than fifteen (15) days following the Notice Date.

       30.     This Order shall become null and void, and shall be without prejudice to the rights

of the Parties, all of whom shall be restored to their respective positions existing immediately

before this Court entered this Order, if (a) the proposed Settlement is not finally approved by the

Court, or does not become final, pursuant to the terms of the Agreement or (b) the proposed

Settlement is terminated in accordance with the Agreement or does not become effective as

required by the terms of the Agreement for any other reason. In any such event, the proposed

Settlement and Agreement shall become null and void and be of no further force and effect, and

neither the Agreement nor the Court’s orders, including this Order, shall be used or referred to

for any purpose whatsoever.

       31.     Neither the Agreement, nor any of its terms or provisions, nor any of its exhibits,

nor any of the negotiations or proceedings connected with it, nor this Order shall be construed as

an admission or concession by Beyond Meat of the truth of any of the allegations in the



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Litigation, or of any liability, fault, or wrongdoing of any kind, or of the appropriateness of the

certification of the Settlement Class for purposes other than for settlement. This Order shall not

be construed or used as an admission, concession or declaration by or against any of the

Released Parties of any fault, wrongdoing, breach, or liability.

       32.     The terms and provisions of the Agreement may be amended by agreement of the

Parties in writing or with approval of the Court without further notice to the Settlement Class, if

such changes are consistent with this Order and do not limit the rights of the Settlement Class.

IT IS SO ORDERED:

DATED: August 14, 2024


                                                       Hon. Sara L. Ellis
                                                       United States District Court Judge, Northern
                                                       District of Illinois, Eastern Division




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